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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HISTORY ASSOCIATES INCORPORATED,

                       Plaintiff,

       v.
                                                               Case No. 1:24-cv-1858-ACR
U.S. SECURITIES AND EXCHANGE
COMMISSION,

                       Defendant.


                                    JOINT STATUS REPORT

       Plaintiff, History Associates Incorporated, and Defendant, the U.S. Securities and Ex-

change Commission, hereby submit this joint status report. On November 8, 2024, this Court

ordered the SEC to respond to two prioritized subparts of one of History Associates’ three FOIA

requests at issue in this case. The SEC released non-exempt records and provided preliminary

Vaughn Indices to Plaintiff on January 7 and January 28, 2025.

       On February 4, 2025, the parties submitted a joint status report in which the parties stated

their positions on the adequacy of the SEC’s search and production in response to the two priori-

tized subparts. In that joint status report, the parties also stated that they were negotiating addi-

tional document productions and proposed to file another joint status report on that issue on Feb-

ruary 11. The parties have been unable to reach agreement on the scope and timing of the addi-

tional productions. This joint status report sets forth the parties’ positions on those issues. History

Associates requests that the Court order the SEC to produce two additional targeted sets of respon-

sive documents within sixty days. The SEC has agreed to conduct searches for the two additional

narrowed subparts of Plaintiff’s FOIA request but believes it would be most efficient for the SEC




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to determine the volumes of potentially responsive records before establishing timelines for the

processing of those records.

                                   History Associates’ Position
       History Associates respectfully submits that this Court should order the SEC to produce

two additional targeted sets of responsive documents within sixty days. The SEC’s initial (and

still-incomplete) production was only a partial response to one of History Associates’ FOIA re-

quests: the request relating to Ethereum’s shift to proof-of-stake. History Associates stated during

the November 8 hearing—and the Court agreed—that requiring the SEC to begin by processing

two subsets of records responsive to the Ethereum request was “without prejudice” to its pursuing

additional documents responsive to its requests. ECF 24-1 at 15-16. The Court stated that the

parties would “start” with the prioritized subparts as “an initial, small subset of things so that [the

SEC] can get working on that quickly and [History Associates] can get something quickly to start

chewing over,” which may provide “a roadmap to ask for more specific documents.” Id. at 15, 17.

“And then,” the Court stated, “[History Associates] can decide what more [it] need[s].” Id. at 17.

While the SEC finishes its overdue production as to those first two subparts, it can and should

proceed with other targeted subsets.

       As History Associates explained during the November 8 hearing, the “principal issue” His-

tory Associates is investigating with respect to its Ethereum request is whether Ethereum’s

“change from one form of validation to another … has some bearing on its classification as a

security or not.” ECF 24-1 at 14. The SEC appears to have flip-flopped on Ether’s status at least

twice—first by approving the ETH 2.0 investigation in April 2023, years after a high-ranking of-

ficial conceded Ether was not a security, and second by abruptly ending the ETH 2.0 investigation

in June 2024. ECF 1 at 7-9. But the agency never has publicly explained itself.




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       Based on the documents and Vaughn indices the SEC has provided so far, History Associ-

ates has identified two additional, discrete categories of responsive documents that may shed light

on the SEC’s views regarding Ether’s status (referred to hereafter as subparts 3 and 4):

   •   Subpart 3: All documents and communications sent to or by all former SEC Commission-

       ers, their counsels, the Director of the Division of Enforcement, the Director of the Crypto

       Asset and Cyber Unit, the Director of the Office of the Strategic Hub for Innovation and

       Financial Technology, and the Director of the Division of Corporation Finance that discuss

       or analyze whether Ether (or “ETH” or “Ethereum”) is a security or whether transactions

       in Ether (or “ETH” or “Ethereum”) are securities transactions, and that contain the words

       “proof-of-stake” (or “PoS,” “the Merge,” or “EIP-3675”).

   •   Subpart 4: All documents or communications sent to or by all former SEC Commissioners,

       their counsels, the Director of the Division of Enforcement, and the Director of the Crypto

       Asset and Cyber Unit related to or concerning the decision to close the ETH 2.0 investiga-

       tion.

Documents responsive to these additional requests should reveal any recorded legal analysis un-

derlying the SEC’s apparent changes of heart about Ether’s status. As before, History Associates

does not agree to narrow its FOIA requests, and reserves the right to seek additional records within

the scope of all of its requests. Instead, as with the first two subparts, History Associates proposes

these next two subparts so that the SEC can focus on processing high-priority records.

       History Associates has attempted to negotiate the scope and timing of these productions

with the SEC, but the parties have been unable to reach agreement. The SEC agrees with the scope

of subpart 4, but it asserts that subpart 3 is overly broad. In the SEC’s view, for a record to be

responsive, it must “contain SEC staff discussion or analysis about whether Ether is a security or




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transactions in Ether are securities transactions.” Infra at 5. The SEC says that it thus “would not

deem as responsive, for example, an email or an attachment that notes that there is an issue as to

whether Ether is a security or whether transactions in Ether are securities transactions but does not

discuss or analyze that issue.” Id.

       The SEC’s proposed limitation is artificial and subjective and would perpetuate the prob-

lems History Associates identified with the SEC’s last production. As History Associates ex-

plained in the last joint status report, see ECF 26 at 6-8, the SEC’s previous self-imposed limita-

tion—which excluded “records that mentioned that the shift [to proof-of-stake] had occurred or

would occur but focused on other subjects,” ECF 26 at 3—lacked any discernible meaning. It was

also untethered to History Associates’ FOIA request, which seeks “access to and copies of all

records concerning Ethereum’s shift to a proof-of-stake consensus mechanism.” ECF 1 at 13. The

SEC’s proposed limitation for subpart 3 suffers the same flaws and would appear to exclude highly

relevant documents—for example, an email in which a high-ranking SEC official flags that it is

an open question whether Ether is a security. The SEC’s concern (infra at 6) that subpart 3 seeks

“‘anything that’s been said about [Ethereum’s shift to a proof-of-stake mechanism]’” is misplaced.

Subpart 3 seeks only documents with targeted keywords that were sent to or from specified high-

level SEC officials—far from everything under the sun. The SEC should not be permitted to im-

pose unilateral and artificial limits on History Associates’ FOIA requests.

       On timing, History Associates seeks to compel the SEC to produce these prioritized sub-

parts within 60 days—the same period the Court initially imposed for the previous subparts (before

extending it by three weeks at the SEC’s request). The SEC says it may need more than 60 days

depending on the volume of documents at issue. But the SEC has already had a week to run the

keyword searches necessary to determine the volume of documents but either has not done so or




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has declined to divulge the volume. Either way, unless and until the SEC substantiates that it

actually needs more time to process these additional subparts, the Court should order the agency

to produce the records within 60 days. That is more than enough time to conduct just a portion of

the FOIA review that the agency should have completed a year and a half ago.

                                          SEC’s Position

       On February 5, 2025, History Associates requested that the SEC next process the two

above-described narrowed subparts of History Associates’ FOIA request. Undersigned counsel

conferred with SEC staff concerning the processing of subparts 3 and 4. On February 7, 2025, the

SEC informed History Associates that the SEC would conduct additional searches for records re-

sponsive to subparts 3 and 4. The SEC proposed that, prior to agreeing on a timeline for pro-

cessing, the SEC would conduct the searches for records, share the volumes of the results of those

searches with Plaintiff, and then determine what timelines make sense for the release of records

(for example, if the volumes are large, the SEC could make rolling releases of records or Plaintiff

could prioritize certain search terms).

       The SEC also proposed responsiveness criteria for narrowed subpart 3; the SEC proposed

that it would deem as responsive records that contain SEC staff discussion or analysis about

whether Ether is a security or transactions in Ether are securities transactions. The SEC would not

deem as responsive, for example, an email or an attachment that notes that there is an issue as to

whether Ether is a security or whether transactions in Ether are securities transactions but does not

discuss or analyze that issue. Further, the SEC would not deem as responsive emails where dis-

cussion about the issue of whether Ether is a security or whether transactions in Ether are securities

transactions is located only in an attachment written by someone outside the SEC, and the email




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provides no basis to believe the attachment was provided to contribute to a discussion within the

SEC on that issue.

       History Associates declined the SEC’s proposal. Instead, through subpart 3, History As-

sociates appears to seek every record belonging to a large number of current and former SEC staff

from January 1, 2018 through the present that contains the search terms “Ethereum” or “ETH” or

“Ether” and proof w/3 stake, “PoS”, “the Merge”, or “EIP-3675”. The SEC will conduct searches

for these records and share the volumes with Plaintiff, but it believes that setting a timeline for

release now is not workable given the scope of subpart 3. As Judge Reyes noted during the parties’

November 8, 2024 appearance, if Plaintiff “want[s] anything that’s been said about [Ethereum’s

shift to a proof-of-stake mechanism], that’s fine, but [Plaintiff is] not going to get anything for

quite a while.” ECF 24-1 at 15:11-14.

       The SEC has begun processing narrowed subparts 3 and 4 and will share with Plaintiff the

volumes of records returned by the searches. The SEC believes that, once those volumes are de-

termined, the parties can then discuss what timelines make sense for release. The SEC proposes

providing the Court with a status update in 30 days, on March 13, 2025.




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Date: February 11, 2025                   Respectfully submitted,

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